           Case 2:14-cr-00165-RAJ       Document 269      Filed 05/13/16      Page 1 of 1




 1                                                                     Judge Richard A. Jones
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                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                      NO. CR14-165RAJ
10
11                               Plaintiff,
                                                     ORDER GRANTING
12                                                   GOVERNMENT’S
                      v.                             MOTION TO SEAL
13
14
      CRAIG GREER,
15
16                                Defendant.
17
18
           Before the Court is the government’s motion to file under seal certain documents
19
     related to Defendant Craig Greer’s sentencing hearing. There being good cause found,
20
           IT IS HEREBY ORDERED that the government’s motion to seal is GRANTED
21
     and the exhibits related to Defendant Craig Greer’s sentencing filed under Dkt. #265 shall
22
     remain under seal.
23
           DATED this 13th day of May, 2016.
24
25
26
                                                     A
                                                     The Honorable Richard A. Jones
27                                                   United States District Judge
28
                                                                        UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     ORDER GRANTING MOTION TO FILE UNDER SEAL - 1                        SEATTLE, WASHINGTON 98101
     U.S. v. GREER/CR14-165RAJ                                                 (206) 553-7970
